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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

                            CASE NO. 3:19-CV-00640-TJC-JRK

  NANCY HARVEY, on behalf of herself
  and all others similarly situated,

         Plaintiff,

  v.

  THE HAMMEL & KAPLAN COMPANY
  LLC d/b/a HOSPITAL LIEN STRATEGIES,


         Defendant.
                                                /

                       PLAINTIFF’S NOTICE OF COMPLIANCE

         Plaintiff and proposed Class Representative Nancy Harvey (“Plaintiff”), by and

  through undersigned counsel, and pursuant to this Court’s Order entered October 29,

  2020 [D.E. 46], hereby files this Notice of Compliance confirming that the undersigned

  counsel has mailed an amended Notice to all class members on November 3, 2020. A

  copy of the Notice mailed to the class is attached hereto as Exhibit A.

         Respectfully submitted 4th day of November, 2020.

                                VARNELL & WARWICK, P.A.

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                                         Attorneys for Plaintiff




                               CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on this 4th day of November, 2020, I electronically

  filed the foregoing with the Clerk of the Court using the CM/ECF system, which will

  send a notice of electronic filing to the following:

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                                                 /s/ Brian W. Warwick
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